                                                                          DISTRICT OF OREGON
                                                                               FILED
                                                                             January 27, 2020
                                                                       Clerk, U.S. Bankruptcy Court



         Below is an order of the court.
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                                                         _______________________________________
 6                                                                 PETER C. McKITTRICK
                                                                   U.S. Bankruptcy Judge
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 9                               UNITED STATES BANKRUPTCY COURT
10                                  FOR THE DISTRICT OF OREGON
11   In Re:                                        )
                                                   ) Bankruptcy Case No.
12   PETER SZANTO,                                 ) 16-33185-pcm7
                                                   )
13                                                 ) ORDER GRANTING DOC. 883
                                                   )
14                                Debtor.          )
                                                   )
15
16        In an order entered on January 8, 2020 (the January 8 Order), the
17   Court, at Mr. Henderson’s request, set a January 24, 2020, deadline for
18   Mr. Henderson to file amended proofs of claim and a brief on behalf of
19   his clients.     Doc. 877.       On January 24, 2020, Mr. Henderson filed a
20   Motion to Extend Time to File Amended Proofs of Claim and Related
21   Briefing (the Motion to Extend).          Doc. 883.    Mr. Henderson requests an
22   additional seven days because he underestimated the time it would take to
23   prepare the amended proofs of claim and brief.             On January 26, 2020,
24   Debtor filed an objection to the Motion (the Objection).                 Doc. 884.
25        Debtor argues that the Motion should be denied because Mr. Henderson
26   failed to serve Debtor’s wife, Susan Szanto, with the Motion to Extend.


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 1   Susan Szanto is not a party to this contested matter.               As a result, Mr.
 2   Henderson was not required to serve her with the Motion to Extend.
 3        Debtor also argues that the Motion to Extend should be denied
 4   because Mr. Henderson failed to comply with LBR 9013-1(b) which, with
 5   certain exceptions, requires that a motion be accompanied by a notice of
 6   motion.    Motions to extend time are expressly excepted from LBR 9013-
 7   1(b).   See LBR 9013-1(b)(2)(F).        Therefore, it was not necessary that the
 8   Motion to Extend be accompanied by the notice detailed in LBR 9013-1(b).
 9   In making this argument, Debtor states that, in 2018, the Court
10   immediately struck a document he had filed, Doc. 620, that lacked the
11   required notice.    Debtor filed Doc. 620 on December 3, 2018, a few days
12   after the effective date of LBR 9013-1(b).          The Clerk’s office did enter
13   an order striking Doc. 620 one day after Debtor filed it.              See Doc. 622.
14   However, as Debtor is well aware, the Court vacated the order striking
15   Doc. 620 less than a week later.        See Doc. 624.      The Court intends to
16   sanction Debtor if he persists in misrepresenting the factual record of
17   this matter.
18        The Court has considered all other arguments raised by Debtor in the
19   Objection.   The Court has already addressed and rejected some of those
20   arguments in earlier orders.     Any remaining arguments are irrelevant,
21   and/or without merit.     Therefore,
22        IT IS HEREBY ORDERED that the Motion Extend is GRANTED.              Mr.
23   Henderson shall filed the amended proofs of claim and brief no later than
24   January 31, 2020.    No further extensions will be granted.
25        IT IS FURTHER ORDERED that the deadline for Debtor to file his
26   objections to the amended proofs of claim and responsive brief shall be


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 1   extended by seven days.   Debtor’s objections and brief shall be filed no
 2   later than April 2, 2020.   No extensions will be granted.
 3         IT IS FURTHER ORDERED that the January 8 Order remains in full force
 4   and effect except as modified in this order.
 5                                         ###
 6   cc:   Peter Szanto (via ECF)
           Nicholas Henderson (via ECF)
 7         Gary Blacklidge (via ECF)
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